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                                                          U.S. Department of Justice

                                                          United States Attorney
                                                          Southern District of New York



                                                          86 Chambers Street, 3rd floor
                                                          New York, New York 10007


                                                           March 7, 2022

    BY ECF
    The Honorable John G. Koeltl
    United States District Judge
    Southern District of New York
    Daniel Patrick Moynihan U.S. Courthouse
    500 Pearl Street
    New York, New York 10007

                                Knight First Amendment Inst. et al. v. Dep’t of State et al.,
                                No. 20 Civ. 4911 (JGK)

    Dear Judge Koeltl:

           We write respectfully on behalf of the parties in the above-referenced Freedom of
    Information Act (“FOIA”) case to provide the Court with a status report with regard to
    the remaining defendants’ processing of plaintiffs’ FOIA request.

            As the parties reported in their last status report (ECF No. 57), all of the defendant
    agencies have completed their responses to the FOIA requests they received, with the
    exception of the Federal Bureau of Investigation (“FBI”), which was still awaiting
    responses to outstanding requests to other agencies for consultation. FBI has since
    received responses to all but one of its consultation requests, and expects to make a
    further production to plaintiff on or about March 14, 2022. Once the FBI completes its
    productions, the parties will meet and confer to determine whether any issues remain to
    be litigated.

            The parties respectfully suggest that they provide a further status report within 60
    days, or by May 6, 2022.

           We thank the Court for its consideration of this letter.


                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney for the
March 8, 2022                                         Southern District of New York
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